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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          OCT 26 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
REBECCA ROE, by and through her                 No. 23-2807
parents and next friends, et al.
                                                D.C. No.
                                                1:23-cv-00315-DCN
              Plaintiffs - Appellants,          District of Idaho, Boise
 v.                                             ORDER

DEBBIE CRITCHFIELD, in her official
capacity as Idaho State Superintendent of
Public Instruction, et al.

              Defendants - Appellees.

Before: W. FLETCHER, CALLAHAN, and BENNETT, Circuit Judges.

Order by Judges W. FLETCHER and BENNETT; Dissent by Judge CALLAHAN.

      The motion for injunctive relief (Docket Entry No. 4) is granted. See

Feldman v. Ariz. Sec’y of State, 843 F.3d 366, 367 (9th Cir. 2016) (“The standard

for evaluating an injunction pending appeal is similar to that employed by district

courts in deciding whether to grant a preliminary injunction.”); see also Winter v.

Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008) (defining standard for

preliminary injunction in district court).

      Enforcement of Idaho’s Senate Bill 1100 is stayed pending resolution of this

appeal.

      The existing briefing schedule remains in effect.
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CALLAHAN, Circuit Judge, dissenting:

      I would deny the emergency motion for an injunction pending appeal

because, in my view, appellants have not demonstrated a sufficient likelihood of

success on the merits of their appeal.




                                         2                                23-2807
